Case 5:15-cV-00066 Document 1-3 Filed in TXSD on 04/02/15 Page 1 of 42

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
LAREDO DIVISION
BERTHA MILLER
VS. : CIVIL ACTION NO.

TRAVELERS LLOYDS OF TEXAS
INSURANCE COMPANY

INDEX OF MATTERS BEING FILED

1. 49"‘ District Court Case Docket Sheet;

2. Civil Case Information Sheet and Plaintift"s Original Petition e-i`lled on 02-04-15;
3. Plaintift" s attorney letter requesting issuance ofCitation dated 02-()4-15;

4. Court’s Notice of Calendar Call;

5. Citation issued on Defendant Travelers Lloyds of Texas Insurance Company and
proof of service; and

6. Plea in Abaternent and Original Answer of Defendant Travelers Lloyds oi" Texas
Insurance Cornpany e-t`iled on 03~25-15.

Undersigned counsel hereby certifies that the above constitutes the entire State Court’s

record, as represented by the Clerk of Court, State Court of Webb County, State of Texas.

 

ADAMS & GRAHAM, L.L.P.
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Respectfully submitted,

   

ja

\bEsLIE LoCKHART\/”
State Bar No. 24036980
Fed. I.D. No. 737979
leslockhart(€uadamstzraham.com
ADAMS & GRAHAM L.L.P.
P. O. Drawer 1429
Harlingen,, Texas 78551-1429
Telephone: (956) 428-7495
Facsirnile: (956) 428-2954

By:

Auorneys for Defena’am TRAVELERS LLoYDs oF
TEXAS INSURANCE CoMPANY

CERTIFICATE OF SERVICE

l HEREBY CERTIFY that a true and correct copy of the above and loregoing
document was forwarded on this 923 Q{ day of April 2015, to the following counsel ol
record:

Chris Schleiffer Via E-filing
The Voss Law Center

26619 lnterstate 45 South

The Woodlands, Texas 77380

Counsel for Plaintiff

 

 

LESLIE LOCKHART

 

ADAMS & GRAHAM, L.l,.P.
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Civil Action No.
Bertha Miller v. Travelers Lloyds of Texas Insurancc Company

TAB 1

TO INDEX ()F MATTERS BEING FILED

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Webb County Courte ~ Live

DATE
TIME

4/01/15
12:32:18

cAsE NUMBER
PLAINTIFF
S.S.#
ADDRESS

DRIVER LICENSE #

PLAINTIFFS ATTORNEY
ADDRESS

VS.

DEFENDANT NAME
S.s.#
ADDRESS

DRIVERS LICENSE #
CASE STATUS . .
CASE DISPOSITION

DEFENDANTS ATTORNEY
ADDRESS

COURT APPOINTED
ENTRY/FILING DATE

JUDGE .
HEARING TYPE
ADMIN. TERM. CODE

COMPLAINT
COMPLAINT DATE
INTEREST DATE
REIMBURSE COSTS
COUNTER CLAIM ORI#
TRUSTEESHIP ORI#
GARNISHMENT GRI#

ACTIVITY DATE ACTIVITY DESCRIPTION

2/04/2015

YC§§§§)%H 04/092/1[5 SPBQ§ 4Mof 42

PAGE 1
MV026O
DCMAR

CIVIL CASE %

2015CVF000421 nl
MILLER,BERTHA,,
000~00-0000 D.o.B.

CASE TYPE : FOl CONSUMER/DTPA

SCHLEIFFER,CHRIS,, PHONE NUMBER: OOO~OOO~OOOO
26619 INTERSTATE 45 SOUTH

THE WOODLANDS TX 77380

TRAVELERS LLOYDS OF TEXAS INSURANCE COMPAN
OOO~OO-OOOO D.O.B. . . . . . :
211 EAST 7TH STREET STE 620
AUSTIN TX 78701
STATUS DATE
DISPOSITION DATE

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P.o. Box 1429

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ACTIVITY TYPE

Caee Statue CaSeStatuS
Caee Statue entered as ACTV.
Caee Status ACTV: Active
For TRAVELERS LLOYDS OF TEXAS INSURANCE COMPANY

Complaint ' Complaint

*IMG* CONTRACT

2/05/2015

Filing Papers
*IMG* LETTER DATED FEB. 4,

File Papre
2015 FROM THE VOSS LAW FIRM IN RE TO

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Webb County Courts - Live PAGE 2
DATE 4/01/15 Mvozeo
TIME 12:32:18 DCMAR
CASE NUMBER . . . . : 2015CVFOOO421 Dl CASE TYPE : FOl CONSUMER/DTPA
PAYMENT FOR COPIES OF PETITION. MG
2/07/2015 Court Case Assignment Case Aeegn
Court date/time: 5/12/2015 13:30 Hearing Type: 17 Clndr Call

Assignment of court date/time.
Statue entered as Open

Hearing Hearing
*IMG* CALENDAR CALL FAXED TO ATTGRENY CHRIS SCHLEIFFER. (GG)

Jury Fee Jury Fee
JURY DEMAND REQUESTED AND PAID BY ATTORENY CHRIS SCHLEIFFER. (GG)

Iseuance ISSuance

*IMG* 2 CITATIONS ISSUED AS TO TRAVELERS LLOYDS OF TEXAS INSURANCE
COMPANY AND SENT BACK TO ATTORENY IN SELF ADDRESSED STAMPED ENVELOPE.
(GG)

3/23/2015 Returns Returne
*IMG* CITATION RETURN SHOWING SERVICE AS TO TRAVELERS LLOYDS OF TEXAS

INSURANCE COMPANY BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE
COMPANY. DOS 3/5/15. MG

3/25/2015 Answer Answer
*IMG* PLEA IN ABATEMENT AND ORIGINAL ANSWER OF DEFENDANT TRAVELERS
LLOYDS OF TEXAS INSURANCE COMPANY. ATTY. LESLIE LOCKHART. MG

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Civil Action No.
Bertha Miller v. Travelers Lloyds of TeXas lnsurance Company

TAiz 2

To INI)EX oF MATTERS BEING FILED

s Case 5:15-cV-00066 Document 1-3 Filed in TXSD on O4/O2/15 Page 7 of 42 Fned
CIvIL CASE INFORMATION SHEET 2/4/2015 2206:34 PM

CoURr (FoR cLERA USE oNLY): E B O[|ado

CAUSE NUMBER (FoR cLERK USE oNLY):

 

District Clerk
sTYLED: BERTHA MlLLER v. TRAvELERs LLoYDs oF TExAs INSURANCE CoMPANY Webb Dismct
(e.g., John Smith v. All American Insurance Co; ln re Mary Ann Jones', In the Matter oftlie Estate of George Jackson) 201 5C\/F000421 D']

A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case The information should be the best available at
the time of filing

 

l. Contact information for person completing case information sheet: lNames of parties in cases

Person or entity completing sheet is:
Attomey for Plaintili/Petitioner

 

 

Name: Email: Plaintili.`(s)/Petitioner(s); Pro Se Plaintiff/Petitioner
' l`itle IV-D Agency
chris@vosslawfirm.com BERTHA MILLER Olher:

§ §hris §chleiffer

Telephone:

713 861-0015

 

dd y ' Defendant(s)/Respondent(s):
A ress` Additional Parties in Child Support Case:
TRAVELERS LLGYDS OF TEXAS

INSURANCE COMPANY Custodial Parent:

266l9 lnterstate 45

Fax:

 

lAtt:icli additional page as necessary to list all paitics]

17131861-002l

City/Stale/Zip:

Th W o lan s TX
77380 Srute BarN@;
Signature:

CKM g E 243 24088362

2. Indicate case type, or identify the most important issue in the case (select anlv 1):

Non»Custodial Parent:

 

Presumed I‘"ather:

 

 

 

 

 

 

 

 

 

 

 

 

 

Intellectual Property

 

 

Civil "amily Law
Post-judgment Actions
Contract Injury or Damage Real Property Marriage Relatiouship (non-Tit!e IV-I))
Debl/Comrac! Assault/Battery Eminent Domain/ Annulment Enforcentent
XXX Consumer/I)TPA Construction Condemnation Declare Marriage Void Modilication»~Custody
Debt/Contract Defamation Partition Divo)'ce Modiiication-~Other
Fraud/Misrepresentation Malp)~aclice Quiet Title With Children 'I`itle IV-D
Otlier Debt/Contract: Accounting Trespass to 'l`ry rI`ille No Children Enforcement/Modilication
Breach of Contract Legal Other Property; Patemi;y
"orec/osm'e Medical M__W~M Reciprocals (UIFSA)
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Other Foreclosure Liability:
Fran€hisc H 2 Related w Criminal Mam~rs other Family Law Pareni.Child relationship
InS“r‘mC@ MO‘OY Vehicle Accidem Expunction Enforce Foreign Adoption/Adoption With
La“leYd/Temm Pr€mi$es Judgment Nisi Judgment Termination
NO“'COmPCIi[iOH F"Od”¢" Lmb"/i’y Non-Disclosure lelabeas Corpus Child Protection
P'<ll`m@r$hip ASb€SlOS/Silica Seizure/Forfeiture Narne Change Child Support
ther Comracli olher Pmducl Liabihly Writ of I'labeas Corpusw Protective Order Custody or Visitation
Llsl PrOduCl? Pre»indictment Removal ofDisabilities Gestational Parenting
__M_. W____.~.MM._, Other: of Minority Grandparent Access
Olher 111qu Or Damag€3 Other: Parentage/Patemity
MMMMM Termination of Parental
Rights
Employment Other Civil other Par@m.Child;
Discrimination Administrative Appeal Lawyer Discipline
Retaliu\ion Antitrust/Unfair Perpetuate Testimony n n
lennination Competition Securities/Stock
Workers’ Compensation Code Violations Tortious Interference
Other Employment: Foreign Judgment Other:

 

Tax Probate & Mental Healtlz

 

Tax Appraisal Probale/Wi//s/Infestale A dmi nistmlion Guardianshiprdult
'l`ax Delinquency Dependent Administration Guardianship-~Minor
Other Tax Independent Administration Mental Health

Other Estate Proceedings Gther:

 

 

3. Indicate procedure or remedy, if applicable (may select more than 1):

 

 

 

Appeal from l\/lunicipal or Justice Court Decla\'alory Judgment Prejudgment Remedy
Arbitration-related Gamishment Protective Order

Attachment Interpleader Receiver

Bill of Review License Sequestration

Certiorari Mandamus Temporax'y Restraining Order/lnjunction
Class Action Post~judgment Turnover

 

 

 

4. Indicate damages sought (do not select if it is a family law casey

Less than $100,000, including damages of any kind, penalties, costs, expenses, prejudgment interest, and attorney fees
Less than $100,000 and non-monetary relief

XXX Over $l()O, 000 but not more than $200,000

Over $200,000 but not more than $l,000,000

Over $1,000,000.

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Flled

2/4/2015 2106:34 Pl\/l
Esther Degol|aclo

 

District Clerl<
V\/ebb District
201 5CVF000421 Dt
CAUSE NO.
BERTHA MILLER, § IN THE DISTRICT COURT
Plajntiff, §
§
§
vs. § WEBB C()UNTY, TEXAS
§
TRAVELERS LLOYDS ()F §
TEXAS INSURANCE COMPANY, §
Defendant. § JUDICIAL DISTRICT

PLAINTIFF’S ORIGINAL PETITION

TO THE H()N()RABLE JUDGE OF SAID COURT:

COMES NOWV Bertha l\/Iiller (hereinai`ter “Plaintiff”), and complains of Travelers
Lloyds of Texas Insurance Company (hereinai"ter “Travelers Lloyds”). In support of her claims
and causes of action, Plaintiff would respectfully show the Court as follows:

llIS§§O\/'EBY LEVEL

1. Plaintiff intends for discovery to be conducted at Level 2, pursuant to Rule 190 of

the Texas Rules of Civil Procedure.
JURISD!C! !ON AN!) VE§NUE;

2. lliis Court has jurisdiction to hear Plaintiff’s claims under Texas common law and
Texas statutoly law. lnarguably, the amount in controversy exceeds the minimum jurisdictional
limits of this Couit. Venue is also proper, as all or a substantial part of the events giving rise to
this suit occurred within the city of Laredo, in Webb County, TeXas.

RA._UE_S_

3. Plaintifi` is an i l whose residence is located in Laredo, Webb County,

  
    
 
 
 

 

 

 

 

 

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4. Defendant Travelers Lloyds is a TeXas insurer, which may be served with process
by serving this Original Petition and a copy of the citation on its Registered Agent, Cotporation
Service Company, at its registered address, 211 East 7th Street, Suite 620, Austin, Texas
78701-3218.

B_A_C__I\:Q.R__Q_UN_D

5. This matter revolves largely around a first party insurance dispute regarding the
extent of damages and amount of loss suliered to the Plaintiif’s Property, which is located at
3420 Yorl<shire Street, Laredo, Texas 78043, (the “Property”). In addition to seeking economic
and penalty based damages from Travelers Lloyds, Plaintiff also seeks compensation from
Travelers Lloyds for damages caused by improperly investigating the extensive losses associated
with this case.

6. Plaintiff owns the Propeity.

7. Prior to the occurrence in question, Plaintiff purchased a residential insurance
policy from Travelers Lloyds to cover the Property at issue in this case for a loss due to storin-
related events Plaintiff’s Propeity suffered storm-related damage 111rough her residential
policy, 011130405657746769, Plaintiff was objectively insured for the subject loss by Defendant.

8. On or around June 1, 2013, the Property suffered incredible damage due to storm
related conditions

9. In the aftermath, Plaintiff relied on Travelers Lloyds to help begin the rebuilding
process By and through her residential policy, Plaintiff was objectively insured for the subject

losses in this matter

 

PLAINTIFF BERTHA 1\/11LLER’S ORIGlNAL PETITION Page 2

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lO. Pursuant to her obligation as a policyholder, Plaintiff made complete payment of all
residential insurance premiums in a timely fashion l\/loreover, her residential policy covered
Plaintiff during the time period in question

ll. Despite Plaintiff’s etforts, Travelers Lloyds continually failed and refused to pay
Plaintiff in accordance with its promises under the Policy.

12. l\/Ioreover, Travelers Lloyds has failed to make any reasonable attempt to settle
Plaintiff’s claims in a fair manner, although its liability to the Plaintiff under the policy is without
dispute

13. ln the months followirrg, Plaintitf provided information to Travelers Lloyds, as
well as provided opportunities for Travelers Lloyds to inspect the Property. However, Travelers
Lloyds failed to conduct a fair investigation into the damage to the Property. Moreover,
Travelers Lloyds failed to properly inspect the Property and its related damages, failed to
properly request information, failed to properly investigate the claim, failed to timely evaluate
the claim, failed to timely estimate the claim, and failed to timely and properly report and make
recommendations in regard to Plaintiff’s claims

14. Despite Travelers Lloyds’s improprieties, Plaintiff continued to provide
information regarding the losses and the related claim to Travelers Lloyds. Further, Plaintiff
made inquiries regarding the status of the losses, and payments Regardless, Travelers Lloyds
failed and refused to respond to the inquiries, and failed to properly adjust the claim and the
losses As a result, to this date, Plaintiff has not received proper payment for her claim, even
though notification was provided

15. Travelers Lloyds has failed to explain the reasons for failing to offer adequate

compensation for the damage to the Property. Travelers Lloyds has furthermore failed to offer

 

PLAINTIFF BERTHA l\/lILLER’S ORIGINAL PETITION Page 3

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Plaintiff adequate compensation without any explanation why full payment was not being made
'l`ravelers Lloyds did not communicate that any future settlements or payments would be
forthcoming to pay the entire losses covered under the polioy.

16. Travelers Lloyds has further failed to affirm or deny coverage within a reasonable
time. Plaintiff also did not receive timely indication of acceptance or rejection regarding the full
and entire claim in writing from Travelers Lloyds in a timely manner

l7. Travelers Lloyds has, to date, refused to fully compensate Plaintiff under the
terms of the policy for which Plaintiff paid, even though it was Travelers Lloyds that failed to
conduct a reasonable investigation Ultimately, Travelers Lloyds performed a result-oriented
investigation of Plaintiff’s claim that resulted in an unfair, biased and inequitable evaluation of
Plaintiff’s losses

18. Travelers Lloyds has failed to meet its obligations under the TeXas lrrsurance
Code regarding timely acknowledging Plaintiff’s claim, beginning an investigation of Plaintiff’s
claim, and requesting all information reasonably necessary to investigate Plaintiff’s claims
within the time period mandated by statute

19. As a result of the above issues, Plaintiff did not receive the coverage for which
she had originally contracted with Travelers Lloyds. Unfortunately, Plaintiff has, therefore, been
forced to file this suit in order to recover damages arising from the above conduct, as well as
overall from the unfair refusal to pay insurance benefits

20. In addition, Travelers Lloyds has failed to place adequate and proper coverage for
Plaintiff causing Plaintiff to suffer further damages As indicated below, Plaintiff seeks relief
under the common law, the Deceptive Trade Practices~Consumer Protection Act and the TeXas

Insurzurce Code.

 

PLAINTIFF BERTHA MILLER’S ORIGINAL PETITION Page 4

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CONDITIONS PRECEDENT
Zl. All conditions precedent to recovery by Plaintiff have been met or have occurred
AGENCY

22. All acts by Travelers Lloyds were undertaken and completed by its officers,
agents, servants, employees, and/or representatives Such were either done with the full
authorization or ratification of Travelers Lloyds and/or were completed in its normal and routine
course and scope of employment with Travelers Lloyds

CLAIl\/IS AGAINST l}EFENDANT

23. Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs

A.
NEGLIGENCE

24. Travelers Lloyds had and owed a legal duty to Plaintiff to properly adjust the
structural and property damage and other insurance losses associated with the Property.

Travelers Lloyds breached this duty in a number of ways, including but not limited to the

following:

a. Travelers Lloyds was to exercise due care in adjusting and paying policy
proceeds regarding Plaintiff’s Property loss',

b. Travelers Lloyds had a duty to competently and completely handle and
pay all damages associated with Plaintiff’s Property', and/or

c. Travelers Lloyds failed to properly complete all adjusting activities
associated with Plaintiff.

25. Travelers Lloyds’s acts, omissions, and/or breaches did great damage to Plaintiff,

and were a proximate cause of Plaintiff’s damages

 

PLAINTIFF BERTHA l\/HLLER’S ORIGINAL PETITION Page 5

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B.
BREACH OF C()NTRACT

26. Plaintiff hereby incorporates by reference all facts and circumstances set forth
under the foregoing paragraphs

27. According to the policy that Plaintiff purchased, Tr¢ velers Lloyds had the absolute
duty to investigate Plaintiff’s damages, and to pay Plaintiff’s policy benefits for the claims made
due to the extensive storm-related damages

28. As a result of the storm-related event, Plaintiff suffered extreme external and
internal damages

29. Despite objective evidence of such damages, Travelers Lloyds has breached its
contractual obligations under the subject insurance policy by failing to pay Plaintiff benefits
relating to the cost to properly repair Plaintiff’s Property, as well as for related losses As a result
of this breach, Plaintiff has suffered actual and consequential damages

C.
VIOLATI()NS OF TEXAS DECEPTIVE TRADE
PRACTICES ACT AND TIE-IN-STATUTES

30. Plaintiff hereby incorporates by reference all facts and circumstances set forth
under the foregoing paragraphs

31. Travelers Lloyds’s collective actions constitute violations of the DTPA, including
but not limited to, Sections l7.46(b) (12), (14), (ZO), (24), and Section l7.50(a) (4) of the Texas
Business & Commerce Code. Travelers Lloyds collectively engaged in false, misleading or
deceptive acts or practices that included, but were not limited to:

a. Representing that an agreement confers or involves rights, remedies, or

obligations which it does not have or involve, or which are prohibited by
law',

 

PLAINTIFF BERTHA l\/HLLER’S ORIGINAL PETITION Page 6

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b. Misrepresenting the authority of a salesman, representative, or agent to
negotiate the final terms ofa consumer transaction',

C`)

Failing to disclose information concerning goods or services which were
known at the time of the transaction, and the failure to disclose such
information was intended to induce the consumer into a transaction into
which the consumer would not have entered had such information been

disclosed;

d. Using or employing an act or practice in violation of the Texas lnsurance
Code',

e. Unreasonably delaying the investigation, adjustment and resolution of

Plaintiff’s claim',

f. Failure to properly investigate Plaintiff’s claim; and/or

g. Hiring and relying upon a biased engineer and/or adjuster to obtain a
favorable, result-oriented report to assist Travelers Lloyds in low-balling
and/or denying Plaintiff’s damage claim.

32. As described in this Original Petition, Travelers Lloyds represented to Plaintiff
that her insurance policy and Travelers Lloyds’s adjusting and investigative services had
characteristics or benefits that it actually did not have, which gives Plaintiff the right to recover
under Section 17.46 (b)(§) of the DTPA.

33. As described in this Original Petition, Travelers Lloyds represented to Plaintiff
that its insurance policy and Travelers Lloyds’s adjusting and investigative services were of a
particular standard, quality, or grade when they were of another, which stands in violation of
Section 17.46 (b)(7) of the DTPA.

34. By representing that Travelers Lloyds would pay the entire amount needed by
Plaintiffto repair the damages caused by the storm-related event and then not doing so, Travelers

Lloyds has violated Sections l7.46 (b)(§), (7) and (12) ofthe DTPA.

 

PLAINTIFF BERTHA l\/llLLER’S ORIGINAL PETITION Page 7

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35. Travelers Lloyds has breached an express warranty that the damage caused by the
storm-related event would be covered under the subject insurance policies This breach entitles
Plaintiff to recover under Sections 17.46 (b) (12) and (2()) and 17.50 (a) (2) of the DTPA.

36. Travelers Lloyds’s actions, as described herein, are unconscionable in that it took
advantage of Plaintiff’s lack of knowledge, ability, and experience to a grossly unfair degree
'l`ravelers Lloyds’s unconscionable conduct gives Plaintiff the right to relief under Section
l7.50(a)(3) of the DTPA.

37. Travelers Lloyds’s conduct, acts, omissions, and failures, as described in this
Original Petition, are unfair practices in the business of insurance in violation of Section 17.50
(a) (4) of the DTPA.

38. Plaintiff is a consumer, as defined under the DTPA, and relied upon these false,
misleading, or deceptive acts or practices made by Travelers Lloyds to her detriment As a direct
and proximate result of Travelers Lloyds’s collective acts and conduct, Plaintiff has been
damaged in an amount in excess of the minimum jurisdictional limits of this Court, for which
Plaintiff now sues All of the above-described acts, omissions, and failures of Travelers Lloyds
are a producing cause of Plaintiff’s damages that are described in this Original Petition.

39. Because Travelers Lloyds’s collective actions and conduct were committed
knowingly and intentionally, Plaintiff is entitled to recover, in addition to all damages described
herein, mental anguish damages and additional penalty damages, in an amount not to exceed
three times such actual damages, for Travelers Lloyds having knowingly committed its conduct.
Additionally, Plaintiff is ultimately entitled to recover damages in an amount not to exceed three
times the amount of mental anguish and actual damages due to Travelers Lloyds having

intentionally committed such conduct

 

PLAINTIFF BERTHA l\/HLLER’S ORIGINAL PETlTlON Page 8

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40. As a result of Travelers Lloyds’s unconscionable, misleading, and deceptive
actions and conduct, Plaintiff has been forced to retain the legal services of the undersigned
attorneys to protect and pursue these claims on her behalf Accordingly, Plaintiff also seeks to
recover her costs and reasonable and necessary attorneys’ fees as permitted under Section
l7.50(d) of the Texas Business & Commerce Code, as well as any other such damages to which
Plaintiffnray show herself to be justly entitled at law and in equity.

D.
VIOLATIONS OF TEXAS INSURANCE CODE

41. Plaintiff hereby incorporates by reference all facts and circumstances set forth
within the foregoing paragraphs

42. Travelers Lloyds’s actions constitute violations of the Texas Insurance Code,
including but not limited to7 Article 21.21 Sections 4(10) (a) (ii), (iv), and (viii) (codified as
Sectiorr 541.060), Aiticle 21.21 Section ll(e) (codified as Section 541.061), and Aiticle 21.55
Section 3(f) (codified as Section 542.058). Specifically, Travelers Lloyds engaged in certain
unfair or deceptive acts or practices that include, but are not limited to the following:

a. Failing to attempt, in good faith, to effectuate a prompt, fair, and equitable
settlement of a claim with respect to which the insurer’s liability has
become reasonably clear',

b. Failing to provide promptly to a policyholder a reasonable explanation of
the basis in the policy, in relation to the facts or applicable law, for the
insurer ’s denial of a claim or for the offer of a compromise settlement of a

claim;

c. Refusing to pay a claim without conducting a reasonable investigation
with respect to the claim',

d. Forcing Plaintiff to file suit to recover amounts due under the policy by
refusing to pay all benefits due;

 

PLAINTIFF BERTHA l\/flLLER’S ORIGINAL PETITION Page 9

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e. l\/Iisrepresenting an insurance policy by failing to disclose any matter
required by law to be disclosed, including a failure to make such
disclosure in accordance with another provision ofthis code', and/ or

f. Failing to pay a valid claim after receiving all reasonably requested and
required items from the claimant

43. Plaintiff is the insured or beneficiary of a claim which was apparently valid as a
result of the unauthorized acts of Travelers Lloyds, and Plaintiff relied upon these unfair or
deceptive acts or practices by Travelers Lloyds to her detriment Accordingly, Travelers Lloyds
became the insurer of Plaintiff.

44. As a direct and proximate result of Travelers Lloyds’s acts and conduct, Plaintiff
has been damaged in an amount in excess of the minimum jurisdictional limits of this Court, for
which she now sues

45. Since a violation of the Texas lnsurance Code is a direct violation of the DTPA,
and because Travelers Lloyds’s actions and conduct were committed knowingly and
intentionally, Plaintitf` is entitled to recover, in addition to all damages described herein, mental
anguish damages and additional damages in an amount not to exceed three times the amount of
actual damages, for Travelers Lloyds having knowingly committed such conduct Additionally,
Plaintiff is entitled to recover damages in an amount not to exceed three times the amount of
mental and actual damages for Travelers Lloyds having intentionally committed such conduct

46. As a result of Travelers Lloyds’s unfair and deceptive actions and conduct,
Plaintiff has been forced to retain the legal services of the undersigned attorneys to protect and
pursue these claims on her behalf Accordingly, Plaintiff also seeks to recover her costs and
reasonable and necessary attorneys’ fees as permitted under Section l7.50(d) of the Texas

Business & Commerce Code or Article 21.21 Section l6(b) (l) (codified as Section 541.152) of

 

PLAINTIFF BERTHA l\/lILLER’S ORIGINAL PETITION Page lO

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the Texas Insurance Code and any other such damages to which Plaintiff may show herself justly
entitled by law and in equity.

E.
BREACH ()F 'I`HE COMMON*LAW DUTY
OF GOOD FAITH AND FAIR DEALING

47. Plaintiff hereby incorporates by reference all facts and circumstances in the
foregoing paragraphs
48. By its acts, omissions, failures and conduct, Travelers Lloyds has breached its

common law duty of good faith and fair dealing by denying Plaintiff’s claims or inadequately
adjusting and making an offer on Plaintiff’s claims without any reasonable basis, and by failing
to conduct a reasonable investigation to determine whether there was a reasonable basis for this
denial

49. Travelers Lloyds has also breached this duty by unreasonably delaying payment
of Plaintiff’s entire claims and by failing to settle Plaintiff’s claims, as Travelers Lloyds knew or
should have known that it was reasonably clear that Plaintiff’s storm-related claims were
covered. These acts, omissions, failures, and conduct by Travelers Lloyds is a proximate cause
of Plaintiff’s damages

F.
BREACH OF FIDUCIARY DUTY

50. Plaintiff hereby incorporates by reference all facts and circumstances in the
foregoing paragraphs

51. Travelers Lloyds had a fiduciary relationship, or in the alternative, a relationship
of trust and confidence with Plaintiff. As a result, Travelers Lloyds owed a duty of good faith

and fair dealing to Plaintiff. Travelers Lloyds breached that fiduciary in that:

 

PLAINTIFF BERTHA l\/lILLBR’S ORIGINAL PETITION Page ll

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a. The transaction was not fair and equitable to Plaintiff‘,

b. Travelers Lloyds did not make reasonable use of the confidence that
Plaintiff placed upon it',

c. Travelers Lloyds did not act in the utmost good faith and did not exercise
the most scrupulous honesty toward Plaintiff',

d. Travelers Lloyds did not place the interests of Plaintiff before its own, and
Travelers Lloyds used the advantage of its position to gain a benefit for

itself, at Plaintiff’s expense;

e. Travelers Lloyds placed itself in a position where its self-interest might
conflict with its obligations as a fiduciary', and/ or

f. Travelers Lloyds did not fully and fairly disclose all important information
to Plaintiff concerning the sale of the policy

52. Travelers Lloyds is liable for Plaintiff’s damages for breach of fiduciary duty, as
such damages were objectively caused by Travelers Lloyds’s conduct

G.
UNFAIR INSURANCE PRACTICES

53. Plaintiff hereby incorporates by reference all facts and circumstances in the
foregoing paragraphs

54. Plaintiff has satisfied all conditions precedent to bringing these causes of action.
By its acts, omissions, failures, and conduct, Travelers Lloyds has engaged in unfair and
deceptive acts or practices in the business of insurance in violation of Chapter 541 of the Texas
insurance Code.

55. Such violations include, without limitation, all the conduct described in this
Original Petition, plus Travelers Lloyds’s failure to properly investigate Plaintiff’s claim

Plaintiff also includes Travelers Lloyds’s unreasonable delays in the investigation, adjustment,

 

PLAINTIFF BERTHA l\/HLLER’S ORIGINAL PETITION Page 12

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and resolution of Plaintiff’s claims and Travelers Lloyds’s failure to pay for the proper repair of
Plaintiff’s Property, as to which Tr'avelers Lloyds’s liability had become reasonably clear.

56. Additional violations include Travelers Lloyds’s hiring of and reliance upon
biased adjusters and/or engineers to obtain favorable, result-oriented reports to assist it in low-
balling and denying Plaintiff’s storm-related damage and related claims Plaintiff further
includes Travelers Lloyds’s failure to look for coverage and give Plaintiff the benefit of the
doubt, as well as Travelers Lloyds’s misrepresentations of coverage under the subject insurance
policy. Specifically, Travelers Lloyds is also guilty of the following unfair insurance practices:

a. Engaging in false, misleading, and deceptive acts or practices in the
business of insurance in this case;

b. Engaging in unfair claims settlement practices;

c. Misrepresenting to Plaintiff pertinent facts or policy provisions relating to
the coverage at issue',

d. Not attempting in good faith to effectuate a prompt, fair, and equitable
settlement of Plaintiffs’ claims as to which Travelers Lloyds’s liability had
become reasonably clear',

e. Failing to affirm or deny coverage of Plaintiff’s claian within a reasonable
time and failing within a reasonable time to submit a reservation of rights

letter to Plaintiff',

f. Refusing to pay Plaintiff’s claian without conducting a reasonable
investigation with respect to the claims', and/or

g. Failing to provide promptly to a policyholder a reasonable explanation of
the basis in the insurance policy, in relation to the facts or applicable law,
for the denial of a claim or for the offer of a compromise settlement

57. Travelers Lloyds has also breached the Texas Insurance Code when it breached its

duty of good faith and fair dealing Travelers Lloyds’s conduct as described herein has resulted in

Plaintiff’s damages that are described in this Original Petition.

 

PLAINTIFF BERTHA l\/HLLER’S ORIGINAL PETITION Page l3

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MISREPREI;.ENTATION
58. Plaintiff hereby incorporates by reference all facts and circumstances in the
foregoing paragraphs
59. Travelers Lloyds is liable to Plaintiff under the theories of intentional

misrepresentation, or in the alternative, negligent misrepresentation Essentially, Travelers
Lloyds did not inform Plaintiff of certain exclusions in the policy. Misrepresentations were made
with the intention that they should be relied upon and acted upon by Plaintiff wlro relied on the
misrepresentations to her detriment As a result, Plaintiff has suffered damages, including but
not limited to loss of the Property, loss of use of the Property, mental anguish and attorney’s fees
Travelers Lloyds is liable for these actual consequential and penalty-based damages

l.
COl\/Il\/ION~LA\V FRAUD BY NEGLIGENT MISREPRESENTATION

60. Plaintiff hereby incorporates by reference all facts and circumstances in the
foregoing paragraphs

61. Plaintiff would show that Travelers Lloyds perpetrated fraud by misrepresentation
(either intentionally or negligently) by falsely representing a fact of materiality to Plaintiff, who
relied upon such representations that ultimately resulted in her injuries and damages
Altematively, Travelers Lloyds fraudulently concealed material facts from Plaintiff, the result of
which caused damage to Plaintiff as a result of the storm~related damages

62. Specifrcally, and as a proximate cause and result of this fraudulent concealment,
fraud and negligent misrepresentation all of which was perpetrated without the knowledge or
consent of Plaintiff, Plaintiff has sustained damages far in excess of the minimum jurisdictional

limits of this Court.

 

PLAINTIFF BERTHA l\/HLLER’S ORIGINAL PETITION Page 14

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63. By reason of Plaintiff’s reliance on Travelers Lloyds fraudulent representations
negligent misrepresentations and/or fraudulent concealment of material facts as described in this
complaint, Plaintiff has suffered actual damages for which he now sues

64. Plaintiff further alleges that because Travelers Lloyds knew that the
misrepresentations made to Plaintiff were false at the time they were made, such
misrepresentations are fraudulent, negligent or grossly negligent on the part of Travelers Lloyds,
and constitute conduct for which the law allows the imposition of exemplary damages

65. ln this regard, Plaintiff will show that she has incurred significant litigation
expenses including attorneys’ fees, in the investigation and prosecution of this action.

66. Accordingly, Plaintiff requests that penalty damages be awarded against Travelers
Lloyds in a sum in excess of the minimum jurisdictional limits of this Court.

W IVFR D EST() L

67. Plaintiff hereby incorporates by reference all facts and circumstances set forth
under the foregoing paragraphs

68. Travelers Lloyds has waived and is estopped from asserting any defenses
conditions, exclusions, or exceptions to coverage not contained in any Reservation of Rights or
denial letters to Plaintiff

lQAMAGE;S

69. Travelers Lloyds’s acts have been the producing and/or proximate cause of
damage to Plaintiff, and Plaintiff seeks an amount in excess of the minimum jurisdictional limits
ofthis Court.

70. lvlore specifically, Plaintiff seeks monetary relief of over $100,000, but not more

than SZO0,000.

 

PLAINTIFF BERTHA l\/HLLER’S ORIGINAL PETlTlON Page 15

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71. Travelers Lloyds’s conduct was committed knowingly and intentionally
Accordingly, Travelers Lloyds is liable for additional damages under the DTPA, section 17.50(b)
'(1), as well as all operative provisions of the Texas Insurance Code. Plaintiff is, thus, clearly

entitled to the 18% damages allowed by the Texas Insurance Code.

ATTOBN EY FEES

72. ln addition, Plaintiff is entitled to all reasonable and necessary attorneys’ fees
pursuant to the Texas Insurance Code, DTPA, and sections 38.001-.005 of the Civil Practice and
Remedies Code.

JURY DEl\/IAND

73. Plaintiff demands a jury trial and tenders the appropriate fee with this Original

Petition.
RE§QUESl EOR DlSCLOSURlL
74. Pursuant to the Texas Rules of Civil Procedure, Plaintiff requests that Travelers

Lloyds disclose all information and/or material as required by Rule 194.2, paragraphs (a) through
(l), and to do so within 50 days of this request

Rl*§§ lUl<§ST FOR PRODUCTION

75. Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following
Requests for Production.

1. Please produce Travelers Lloyds’s complete claim files from the home, regional,
local offices, and third party adjusters/adjusting firms regarding the claim that is the subject
of this matter, including copies of the file jackets, “field” files and notes, and drafts of
documents contained in the file for the premises relating to or arising out of Plaintiff’s
underlying claim.

2. Please produce the underwriting files referring or relating in any way to the policy
at issue in this action, including the file folders in which the underwriting documents are
kept and drafts of all documents in the file.

 

PLA]NTIFF BERTHA l\/HLLER’S ORIGINAL PETITION Page 16

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3. Please produce certified copy of the insurance policy pertaining to the claim
involved in this suit.

4. Please produce the electronic diary, including the electronic and paper notes made
by Travelers Lloyds’s claims personnel, contractors and third party adjusters/adjusting
firms relating to the Plaintiff’s claims

5. Please produce all entails and other forms of communication by and between all
parties in this matter relating to the underlying event7 claim or the Property, which is the
subject of this suit.

6. Please produce the adjusting reports, estimates and appraisals prepared concerning
Plaintiffs’ underlying claim.

7. Please produce the field notes, measurements and file maintained by the adjuster(s)
and engineers wlro physically inspected the subject Property.

8. Please produce the errrails, instant messages and internal correspondence pertaining
to Plaintiff’s underlying claim(s).

9, Please produce the videotapes, photographs and recordings of Plaintiff or Plaintiff’s
home, regardless of whether Travelers Lloyds intend to offer these items into evidence at

trial.
E ROG TO S
76. Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following
lnterrogatories.

1. Please identify any person Travelers Lloyds expect to call to testify at the time of
trial.

2. Please identify the persons involved in the investigation and handling of Plaintiff’s
claim for insurance benefits arising from damage relating to the underlying event, claim or
the Property, which is the subject of this suit, and include a brief description of the
involvement of each person identified, their employer, and the date(s) of such involvement

3. lf Travelers Lloyds or Travelers Lloyds’s representatives performed any
investigative steps in addition to what is reflected in the claian file, please generally
describe those investigative steps conducted by Travelers Lloyds or any of Travelers
Lloyds’s representatives with respect to the facts surrounding the circumstances of the
subject loss Identify the persons involved in each step.

 

PLAINTIFF BERTHA l\/HLLER’S ORIGINAL PETITION Page 17

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4. Please identify by date, author, and result the estimates, appraisals, engineering,
mold and other reports generated as a result of Travelers Lloyds’s investigation

5. Please state the following concerning notice of claim and timing of payment:

a. The date and manner in which Travelers Lloyds received notice of
the claim',

b. The date and manner in which Travelers Lloyds acknowledged
receipt of the claim',

c. The date and manner in which Travelers Lloyds commenced
investigation of the claim',

d. The date and manner in which Travelers Lloyds requested from the

claimant all items, statements, and forms that Travelers Lloyds
reasonably believed, at the time, would be required from the
claimant; and

e. The date and manner in which Travelers Lloyds notified the
claimant in writing of the acceptance or rejection of the claim.

6. Please identify by date, amount and reason, the insurance proceed payments made
by Defendant, or on Defendant’s behalf, to the Plaintiff

7. Has Plaintiff’s claim for insurance benefits been rejected or denied‘? If so, state the
reasons for rejecting/denying the claim

8. W hen was the date Travelers Lloyds anticipated litigation‘?

9. Have any documents (including those maintained electronically) relating to the
investigation or handling of Plaintiff’s claim for insurance benefits been destroyed or
disposed of`? If so, please identify what, when and why the document was destroyed, and
describe Travelers Lloyds’s document retention policy.

lO. Does Travelers Lloyds contend that the insured premises was damaged by storin-
r‘elated events and/or any excluded peril? lf so, state the general factual basis for this
contention

11. Does Travelers Lloyds contend that any act or omission by the Plaintiff voided,
nullified, waived or breached the insurance policy in any way‘? If so, state the general
factual basis for this contention

12. Does Travelers Lloyds contend that the PlaintiH` failed to satisfy any condition
precedent or covenant of the policy in any way? lf so, state the general factual basis for
this contention

 

PLA]NTIFF BERTHA l\/HLLER’S ORlGINAL PETITION Page 18

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13. How is the performance of the adjuster(s) involved in handling Plaintiff’s claim
evaluated? State the following:

a. what performance measures are used; and
b. describe Travelers Lloyds’s bonus or incentive plan for adjusters.
QQHQLUSIQN

77. Plaintiff prays that judgment be entered against Travelers Lloyds of Texas
Insurance Company, and that Plaintiff be awarded all of her actual damages, consequential
damages, prejudgment interest, additional statutory damages, post judgment interest, reasonable
and necessary attorney fees, court costs and for all such other relief, general or Specific, in law or
in equity, whether pled or un-pled within this Original Petition.

BBAYLR
WHEREFORE, PREMISES CONSIDERED, Plaintiff prays she be awarded all such

relief to Which she is due as a result of the acts of Travelers Lloyds of Texas Insurance Cornpany,
and for all such other relief to which Plaintiff may be justly entitled

Respectfully submitted7
THE Voss LAW FIRM, P.C.

/s/ Chris Schleiffer

Bill L. Voss

State Bar No. 24047043
Scott G. Hunziker

State Bar No. 24032446
Chris Schleiffer

State Bar No. 24088362
The Voss Law Center
26619 Interstate 45 South
The Woodlands, Texas 77380
Telephone: (713) 861~0015
Facsimile: (713) 861-0021

chris@.vosslawfirm.com

ATTORNEYS FOR PLAINTIFF

 

PLAlNTIPF BERTHA MILLER’S ORIGINAL PETITION Page 19

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Civil Action No.
Bertha Miller v. Travelcrs Lloyds of Texas Insurance Company

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To INDEX oF MATTERS BEING FILED

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Esther Dego|lado
District C|erk

Webb District

THE voss ake LAW FIRMaaaa

A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW

THE voss LAW CENTER
26619 rNTERsTATE 45
THE WooDLANDs, TEXAS 77380
TELEPHONE (713) 861-0015
FACSI_MILE (713) 861-0021
ToLL FREE (866) 203-5411

,W_w_LMstLa\_vl*`i_nn.an
February 4, 2015

Via Pr0D0c L-[lling
Webb County District Clerl<

Re: Berlha Mz`ller vs. Travelers L/0yds of Texas Insurance Company,' Cause No.
2015CVF000421D1
-- Copies of Petition

Dear Clerl<:

This letter will serve as a request for copies of Plaintiff’s Griginal Petition for issuance with
the citation in the above»referenced cause number

Your attention to this matter is greatly appreciated
Very truly yours,
/s/ Karen Shadbolt
Karen Shadbolt

Legal Assistant

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Civil Action No.
Bertha Miller v. Travelers Lloyds ol` Texas Insurance Company

TAB 4

To INDEX oF MATTERS BEING FILED

State Distriet Court JOS€ A. LOpeZ
49'*`“ Judieial Distriet of Texas State Distriet Judge

Counties of Webb and Zapata

 

February 7, 2015

NOTICE ()F CALENDAR CALL

C/\LISE NO. 2015€\/FO()0421 Dl

BERTI~IA MILLER
VS
TR/\VELERS l-LOYDS OF TEX/\S lNSURANCF_ COMPANY

l)lease take notice that this case is set for Calendar Call on 05/12/2015
at 1:3() PM at die 49"‘ District Court, 3“' Floor, Webb County justice Center.

/\ll Calendar Call hearings will be in open Court and on the record before the l~lonorable
judge jose /\. Lopez. Your presence is MANDATORY unless Counsel for Plaintilf(s) and
Del`endant(s) have in place a pre-trial guideline order with both Counsel and judge‘s signatures
prior to calendar call date This guideline order should have all appropriate dates including
pre~trial, jury selection and all deadlines

Counsel for Plaintil`l`(s) please note that if \'ou do not appear for calendar call your case may
be dismissed l`or lack of prosecution

Counscl for Defendant(s) please note that ifvou do not appear for calendar call. a pretrial
guideline order may be entered with or without vour approval and/or signature

Il` there are any questions regarding this matter please l`eel l`ree to call our office at any time.

%M“ /Z % e'*“”""_
Maria Rosario Ramire'/.

Civil Court Coordinator
49‘}‘ District Court

 

 
  
     

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Case 5:15-cV-00066 Document 1-3 Filed in TXSD on O4/O2/15 Page 31 of 42

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' Councies ol` Webb and Zapata

 

Febrixar}' 7, 2015

N()TICE OF CALENDAR CALL

C.'\USF. NO. 2()!5CVF(1(`10421 Dl

BERTHA i\ill.LEl(
VS
TRr'\\’EI ERS LLOYDS GF Tl§,\'AS lN.\`UR/\NCE ('ZOMPANY

Please take notice that this Casc is set for Calernlar Cnll on Q§/ l E/ZQlS
at 1:30 PM at the 49“‘ l)istrict Couri, 3"’ l:lu¢)r, Wehli Couut_v justice (.ie.nter.

All Calcndar Call hearings will l)e in open Couri.and on the record before the Honorable
judge jose !\. Lopez. Your presence is MANDATORY unless (`,oun.sel I"or Plaintiii`(s) and
Defendant(s`) have in place a prc-trial guideline order with both Counsel and judge`.~ signatures
prior 10 calendar call dare. This guideline order Should have all appropriate dates including
pre-trial, jury selection and all deadlines

Counsel |`or Plaiiiti|i(sl please note thru il` von do not appear for calendar call _\'our case may
be dismissed for lack of prosecution

Counscl for Dclendant(s) please note dial if\'ou do not appear for calendar call a prv»tria|
guideline order ma\' he entered with or wiLhouL your approval and/or signature

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Civil Court Coordinaior
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Civil Aciion No.
Beriha Miller v. Travelers Llode 01` Texas Insurance Company

TAB 5

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CITATION

'I'HE STATE OF TEXAS
COUNTY OF WEBB

NOTICE TO THE DEFENDANT: “YOU HAVE BEEN SUED. YOU MAY EMPLOY AN ATTORNBY.
IF YOU OR YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WI'].`H THE CLERK WHO
ISSUED THIS CITATION BY lO:OO A.l‘/l. ON THE MONDAY NEXT FOLLOWING THE EXPIRATION
OF TWENTY DAYS AFTER YOU WERE SERVED THIS CITATION .Z\_ND PETITION, A DEFAULT
JUDGMENT MAY BE TAKEN AGAINST YOU."

To: TRAVELERS LLOYDS oF TEXAS INSURANCE coMPANY
BY 313erch ITS REGISTERED AGENT; coRPoRATIoN sERvIcE coMPANY
211 EAST 7TH STREET STE 620
AUSTIN, TX 78701

DEFENDAN'I', IN ’I'HE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE HEREBY
COMMANDED TO APPEAR BEFORE THE 49‘I'H DISTRICT COU`R".\Il Of Webb COUl’ll;y, TeXaS, T;O
be held at the Said courthouse of Said county in the city of Laredo, Webb
County, Texas, by filing a written answer to the Petition Of Plaintiff at or
before 10:00 O'CLOCK A.M. of the Monday next after the expiration of 20 days
after the date of Service thereof, a copy of which accompanies this citation,
in the Cause #: 2015€VFOOO421 Dl , Styled:

BERTHA MILLER, PLAINTIFF

VS.

TRAVELERS LLOYDS OF TEXAS INSURANCE COMPANY, DEFENDANT
Said Plaintiff'$ Petition was filed on 02/04/2015 in Said court by:

CHRIS SCHLEIFFER, ATTORNEY FOR PLAINTIFF

26619 INTERSTATE 45 SOUTH

THE WOODLANDS, TX 77380

WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB COUNTY, TEXAS, ISSu€d
and given under my hand and Seal of Said court at office, this 7 day
of February, 2015.

C L E R. K C) F C O U R T

 

 

   

CALENDAR CALL COURT DATE:

n THER DEGOLLADO
05/12/2015 AT 1:30P.|Vl. S

WEBB COUNTY DISTRICT CLER»K“

 

 

   

 

 

 
 
 

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LAREDO, TX 78042

 

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the '§; day of §§§nj?;épid , 2015, by delivering to the within
named TRAVELERS LLOYDS OF TEXAS INSURANCE COMPANY, cach, in*p§§ ,
true copy of this citation together with the accompanying c§py' f the
petition, having first attached such copy of such petition to such

copy of citation and endorsed on such copy of citation the date of
delivery.

The distance actually‘ traveled. by' me in serving‘ such. process was
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To certify which, witness my hand officially.

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THE STATE OF TEXAS }

 

 

COUNTY OF WEBB }

Bsfore me, the undersigned authority, on this day personally
appeared E\ptk§E£W\jD§YTZY , Who after being duly sworn,
upon oath said that a notics, of which the above is a true copy, Was
by him/her delivered to“”§§n¢“¢:§cwf§s lhd”n§§¢§i

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Civil Action No.
Bertha Miller v. Travelers Lloyds 01" Texas Insurance Company

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T() INDEX OF MATTERS BEING FILED

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Filed

3/25/2015 3:29:28 Pl\/l
Esther Dego|lado

District Clerk
Webb District
2015CVFOOO421D1
CAUSE NO. 2015€VF000421D1
BERTHA MILLER, § IN THE DISTRICT COURT
Plaintiff §
§
VS. § 49TH JUDICIAL DISTRICT
§
TRAVELERS LLOYDS OF TEXAS §
INSURANCE COMPANY §
Del"endant § WEBB COUNT"Y, TEXAS

PLEA IN ABATEMENT AND ORIGINAL ANSWER OF DEFENDANT
TRAVELERS LLOYDS OF TEXAS INSURANCE COMPANY

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, TRAVELERS LLOYDS OF TEXAS INSURANCE COMPANY
(“Travelers”), Defendant herein, and files this its Plea in Abaternent and Original Answer
in response to Plaintiff’s Original Petition, and in support thereof would show the Court as
follows:

I.
General Denial

Travelers denies each and every material allegation in Plaintifi’s Original Petition
contained and says that the same are not true, in Whole or in part, and demands strict proof
thereof.

II.

Snecif`lc Pleas and Afiirmative Defenses

   

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A. Travelers admits the issuance of an HO-A policy. Travelers reserves the right
to amend this Answer to assert defenses or any other applicable terms, provisions, exclusions,
limitations or conditions of the Policy that may become apparent during Travelers’ ongoing
investigation and discovery.

B. Plaintiff has a continuing duty to cooperate under the policy.

C. Travelers pleads the affirmative defense of bona fide dispute.

D. Travelers denies any breach of duty to the Plaintiff with regard to the policy,
investigation, handling and determination of the Plaintit`t`s claims for insurance proceeds

E. Travelers denies that it has violated any provision of the Texas Deceptive
dee Pracrz'cesAct in the manner in which the subject homeowner insurance was issued or
in the manner in which Plaintist claims for insurance proceeds were handled

F. Travelers denies that it has violated any provision oi’ §54] and §542, et seq.
of the Texa.s Insurance Code.

G. Travelers denies that the Plaintiff is entitled to recover attorney’s fees, as there
has been no breach of the insurance contract issued by Travelers. In addition, Travelers has
not violated any statutory obligation it may have to the Plaintiff that would give rise to a
claim for recovery of attorney’s t`ees.

H. Travelers pleads prior payments as a credit or offset

I. Travelers expressly reserves its right to demand appraisal pursuant to the

policy.

 

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J. Travelers would further show that the Plaintiff’ s actions brought pursuant to
the Texas Insurance Code and Texas Deceptive Trade Practt`ces Act are groundless and
brought in bad faith, or in the alternative, brought for purposes of harassment As such, the
Plaintiff is in violation of Tex. Ins. Code §54].153 and §]7.50(<:) of the Texas Deceptive
Trczcle Pracrices Act and Travelers is, therefore, entitled to recover its reasonable and
necessary attorney’s fees and costs in defending against these claims.

K. Travelers pleads all applicable provisions, requirements, standards and
limitations set forth in Tex. Civ. P)'ac. & Rem. Code Chapter 41.

L. Travelers affirmatively pleads the unconstitutionality of punitive, exemplary
or enhanced damages, in violation of the due process and due course of law and of equal
protection provided by the Constitutions of the United States of America and the State of
Texas.

M. Travelers pleads all applicable statutes of limitations

WHEREFORE, PREMISES C()NSIDERED, Travelers prays that upon final
hearing hereof that Plaintiff not recover as prayed for in his Petition, that the Court award
Travelers its attorney's fees and costs and all other relief, at law or in equity, which it may

show itselfjustly entitled to receive.

 

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Respectfully submitted,

ADAMS & GRAHAM, L.L.P.
P. O. BoX 1429

Harlingen, Texas 78551-l 429
956/428-7495 (Phone) §

956/428~295 .(Fax) \::;7z/

KLEHJELOCKHART
State Bar No. 24036980
Email: leslockhart(ci)adamsgraham.com

 
          
   

ATTORNEYS FOR DEFENDANT TRAVELERS
LLOYDS OF TEXAS INSURANCE C()MPANY

 

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THE sTATE )
oF TEXAs )

BEFORE ME, the undersigned Notary Public in and for the State of Texas, on this day
personally appeared LESLIE LOCKHART, known to me to be the person whose name is

subscribed hereto, who being first duly sworn in the manner provided by law, on oath, stated
as follows:

l. “l\/iy name is LESLlE LOCKHART. l am the attorney of record for Defendant
Travelers Lloyds of Texas Insurance Company. l am over the age of 18
years, am competent and authorized to testify and have personal knowledge of
the facts set forth herein.

2. The factual allegations contained in Paragraph I. Plea in Aba ment, and
Paragraph lIl. A are true and correct.”

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SWORN TO AND SUBSCRIBED before me, the undersigned authority, by the said
LESLIE LOCKHART, on the 25‘“ day of l\/larch, 2015, to certify which, witness my hand
and seal of office.

usA ANN Fut~r£z Q/Yl/VI -<`:£M/AZZD/V\

'° Notory Put)lic. Stote of Texos

g Mv Comm‘$$ion E!D"es otary Public State of Texas
` Februcrv 02. 2019 Notat"y s Typed Or Printed Name:
Lisa Ann Fuentez

Notary’s Commission Expires: 02-02*20 l 9

 

 

  
 

 

 

 

 

 

 

 

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CERTIFICATE ()F SERVICE

l HEREBY CERTIFY that a true and correct copy of the above and foregoing
document was forwarded on this 25"‘ day of March, 2015, to the following counsel of
record:

Chris Schleiffer Via E filing
Bill L. Voss

Scott G. Hunziker

THE Voss LAW CENTER

26619 Interstate 45 South

The Woodlands, TeXas 77380

Attorneys for Plaintiff /"";
/j

 

 

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